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         United States Court of Appeals
              for the Fifth Circuit
                              ___________                      United States Court of Appeals
                                                                        Fifth Circuit


                              No. 23-30075
                                                                      FILED
                                                            November 29, 2023
                            Summary Calendar
                             ___________                         Lyle W. Cayce
                                                                      Clerk
United States of America,

                                                        Plaintiff—Appellee,

                                   versus

Chance Joseph Seneca,

                                         Defendant—Appellant.
                 ____________________________

                Appeal from the United States District Court
                   for the Western District of Louisiana
                          USDC No. 6:21-CR-43-1
                 ____________________________

Before Barksdale, Graves, and Oldham, Circuit Judges.

                            JUDGMENT

        This cause was considered on the record on appeal and the briefs on
file.
        IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.
